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12

13   UNITED STATES OF AMERICA,                       )   CASE NO. CR 15-00234 CRB
                                                     )
14           Plaintiff,                              )   UNITED STATES’ OPPOSITION TO
                                                     )   DEFENDANT ARTUR STEPANYAN’S
15      v.                                           )   MOTION TO MODIFY CONDITIONS OF
                                                     )   RELEASE
16   ARTUR STEPANYAN,                                )
                                                     )   Date: April 11, 2022
17           Defendant.                              )   Time: 12:00 p.m.
                                                     )   Judge: Hon. Thomas S. Hixson
18
19           The United States of America (“the government”) hereby submits its opposition to Defendant
20 Artur Stepanyan’s motion to modify his conditions of pretrial release. Stepanyan seeks to remove both

21 his father as third-party custodian and his father’s property, 3521 Country Club Drive, Glendale,

22 California, as security from his bond. Consistent with the position of the United States Probation Office,

23 the government does not object to the release of Stepanyan’s father as third-party custodian but does

24 object to the modification of the security posted as bond.

25           The government opposes this request because the removal of the 3521 Country Club Drive
26 property—which, per Zillow.com, is currently valued at approximately $2.6 million—would eliminate a

27 significant motivation for Stepanyan to continue to adhere to his pretrial release conditions. Given his

28 history and significant sentencing exposure in this matter, the government believes this defendant

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 1 remains a flight risk and the bond should not be modified.

 2          A.      The 3521 Country Club Drive Property as Security is Needed to Ensure Stepanyan’s
                    Compliance with his Pretrial Release Conditions
 3

 4          Stepanyan stands to be sentenced for his conduct in the above-referenced matter on December

 5 14, 2022. He was convicted of Racketeering Conspiracy, in violation of 18 U.S.C. § 1962(d) and faces a

 6 sentence of between 78 to 135 months in prison. Of the 38 defendants charged in this matter, Stepanyan

 7 is one of the most culpable. He profited greatly from an extensive drug diversion scheme that he and

 8 others orchestrated. The amount of money involved in the scheme—close to $200 million—which

 9 spanned a period of over five years, is staggering. Stepanyan’s plea agreement contains a detailed
10 factual basis spanning ten pages in which he describes each aspect of the multi-faceted scheme in which

11 he was involved. See Dkt. No. 1506.

12          In addition, Stepanyan has a history of noncompliance. On December 6, 1999, Stepanyan was

13 convicted of health care fraud (18 U.S.C. 1347) in the Eastern District of California. See United States

14 v. Arthur Stepanyan, Case No. CR 99-00311 FCD-1, Dkt. No. 1 (E.D. Cal.) (defendant charged under

15 the name “Arthur Stepanyan”). On February 14, 2000, the district court sentenced Stepanyan to 60

16 months’ probation. Id. at Dkt. Nos. 11, 12. Stepanyan subsequently violated the terms of his probation

17 and was revoked. On July 10, 2000, Stepanyan was sentenced to 12 months’ imprisonment and 36

18 months’ supervised release. Id. at Dkt. No. 19.
19          To date, Stepanyan has had a $2.6 million motivation to comply with his pretrial conditions.

20 Facing a significant sentence in less than a year, he is likely to flee or not continue complying if that

21 motivation is removed.

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 1          B.     Conclusion

 2          For the foregoing reasons, the Court should deny the defendant’s motion to modify his

 3 conditions of pretrial release.

 4

 5 DATED: April 8, 2022                                        Respectfully submitted,

 6                                                             STEPHANIE M. HINDS
                                                               United States Attorney
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                                                               _________/s/_______________
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